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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.4
                               Eastern Division

Douglas Brown
                               Plaintiff,
v.                                                Case No.: 1:19−cv−07562
                                                  Honorable Harry D. Leinenweber
City of Chicago, et al.
                               Defendant.



                          NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, March 29, 2022:


       MINUTE entry before the Honorable Harry D. Leinenweber: Telephone
Conference held. Plaintiff failed to appear. This case is hereby dismissed with prejudice
for want of prosecution. Civil case terminated. Mailed notice(maf)




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
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